

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-75,781






EX PARTE ERIK RUEDA GONZALEZ, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


		CAUSE NO. 0839696D IN THE 371ST CRIMINAL DISTRICT COURT 


				FROM TARRANT COUNTY





	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of two counts of
capital murder and sentenced to two life sentences, running concurrently.  The Second Court of
Appeals affirmed his convictions. Gonzalez v. State, No. 02-04-057-CR (Tex. App.-Fort Worth,
delivered June 23, 2005, pet. ref'd).  	

	Applicant contends that his convictions violate the Double Jeopardy Clause of the US
Constitution.  Applicant was indicted for killing two individuals during the same criminal episode. 
Under Section 19.03 of the Texas Penal Code, killing more than one person during the same criminal
transaction is capital murder.  This is one offense of capital murder under Tex. Penal Code Sec.
19.03 (a)(7)(A).  Saenz v. State, 166 S.W.3d 270, 272 (Tex. Crim. App. 2005).  Applicant is entitled
to relief.

	Relief is granted. The judgment in count two of Cause No. 0839696D in the 371st Judicial
District Court of Tarrant County is vacated and set aside.  All challenges to the judgment in count
one are denied.  Applicant's claims of ineffective assistance of counsel and violation under the
Vienna Convention are denied.

	Copies of this opinion shall be sent to the Texas Department of Criminal Justice-Correctional
Institutions Division and Parole Division.


Delivered: October 10, 2007

Do Not Publish


